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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

STATE FARM MUTUAL
INSURANCE COMPANY, Docket No.: 17-CV-05845

Plaintiff,
-against-
ZIST CENTURY PHARMACY, INC., ALBERT
ALISHAYEV, TIMOTHY MORLEY, D.O.,
AZU A. AJUDUA, M.D., VINCENTIU POPA, M.D.
and JO-ANN SHAKARJIAN, M.D.

Defendants.

 

DGRD MARKETING INC’S MEMORANDUM OF LAW IN
OPPOSITION TO ORDER TO SHOW CAUSE

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INTRODUCTION

DGRD Marketing Inc (hereinafter “DGRD”) submits this memorandum of law in
opposition to Plaintist motion to compel (DE 84, 85), and this Court’s September 14, 2018
Order to show cause why DGRD should not be held in contempt for failing to respond to the
Plaintiff’s supboena for records in this action. DGRD served its response to Plaintiff’s subpoena
on September 28, 2018. DGRD submits this Opposition and respectfully beseeches this Court to
not hold it in contempt for not timely responding to Plaintiff’s subpoena.

I. THE COURT SHOULD NOT HOLD DGRD MARKETING INC IN CONTEMPT

A. DGRD Served Responses to State Farm’s Subpoena as Soon as It Became
Aware of Same

DGRD is solely owned by Daniel Dmitrovic. See Exhibit 1, Strong Aff. at 11 5. In June
2018, Mr. Dmitrovic traveled to Serbia. Id. He did not return to the United States until
September 25, 2018. Id. During this time, Mr. Dmitrovic did not have access to any mail
delivered to him. Id. Upon his return to the Unites States. Mr. Dmitrovic discovered the State
Farm subpoena, and immediately retained counsel to respond to same. Mr. Dmitrovic did not
purposely ignore State Farm’s subpoena and engaged counsel to respond as soon as he became
aware of same.

B. DGRD Fully Responded to State Farm’s Subpoena by Producing Responsive
Documents or by Providing Specific Objections

DGRD fully responded to Plaintiff" s subpoena request numbers 1 to 19 by providing all
identified documents. The responses to request numbers 20-24 included, inter alia, objections
regarding vagueness, ambiguity, and overbreadth to the specific requests. DGRD set forth its

position that, as these requests seek documents from a non-party that are not relevant to any

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party’s claim or defense in this case, they are not proportional to the needs of case. Specifically,

Plaintiff’s subpoena includes the following requests:

¢ Request No. 20, which seeks “[a]ll Documents reflecting or relating to Your financial
condition from January 1, 2014 through the present, including any general ledgers,
balance sheets, income statements, checks, cancelled checks, and/or account
statements If Your accounting Documents are kept in electronic form such as
QuickBooks, produce those ledgers and/or Documents in electronic form.”

¢ Request No. 21, which seeks “[a]ll Your banking records, including any account
statements, cancelled checks, deposit slips, withdrawal slips, records of wire
transfers, loans and/or loan applications, and/or Documents related to the opening
and/or closing of any account.

¢ Request No. 22, which seeks “[y]our federal tax returns and all related schedules filed
with the U.S. Internal Revenue Service from 2012 through the present, including but
not limited to all W-2s, Form 1099s, and K-ls.”

0 Request No. 23, which seeks “[a]ll lease and/or rental agreements entered into by
You or on Your behalf.”

v Request No. 24, which seeks “[a]ll lease and/or rental payments made by You.”

Notwithstanding its objections, DGRD produced all bank records that DGRD identified as
reflecting transactions related to 21St Century Pharmacy in response to Request No. 21. With
regard to lease and/or rental agreements and payments, DGRD has no lease or rental agreements
with 21St Century, and has not maintained office space specifically and/or exclusively related to
services provided to 21St Century Pharmacy. DGRD therefore maintains its objections to
Request Nos. 20-24, as they intrusiver seek production of documents of a financial nature that

are not exclusively related to services it provided to 21st Century.

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C. DGRD’s Subpoena Response Is in Accordance with the Scope of Discovery
Permitted by the Federal Rules of Civil Procedure

Pursuant to Federal Rule of Civil Procedure 26(b), “[p]arties may obtain discovery
regarding any nonprivileged matter that is relevant to any party’s claim or defense and
proportional to the needs of the case, considering the importance of the issues at stake in the
action, the amount in controversy, the parties’ relative access to relevant information, the parties’
resources, the importance of the discovery in resolving the issues, and whether the burden or
expense of the proposed discovery outweighs its likely benefit.” However, pursuant to Federal
Rule of Civil Procedure 26(c)(1), a court may “for good cause, issue an order to protect a party
or person from annoyance, embarrassment, oppression, or undue burden or expense”. Courts in
the Second Circuit have held that a party’s right to obtain any discovery that is relevant to their
case under Rule 26 “is not unlimited”. Guan Mz'n Lin v. Benihana Nat. Corp, 2010 WL 4007282

at *2 (S.D.N.Y. Oct. 5, 2010).

ln Guan Min Lin, the court noted that “the actual claims and defenses involved in the
action” control with regard to the scope of permitted discovery. Guan Min Lin, 2010 WL
4007282 at *3. The court held that the “suggest[ion] that they might amend their
complaint...depending on the result of their inquiry” did not make the requested inquiry an

appropriate topic for discovery. Id.

Guan Min Lin’s holding is especially relevant here, where Plaintiff"s Complaint lists

numerous causes of action for common law fraudl, unjust enrichmentz, and aiding and abetting

 

l Under New York law, “[t]o state a cause of action for fraud, a plaintiff must allege a representation of material
fact, the falsity of the representation, knowledge by the party making the representation that it was false when made,
justifiable reliance by the plaintiff and resulting injury.” Id. (citing Kaufman v. Cohen, 307 A.D.2d 113, ll9, 760
N.Y.S.2d 157, 165 (lst Dep't 2003)).

2 To state a cause of action for unjust enrichment, a plaintiff must allege “(l) that the defendant was enriched; (2)
that the enrichment was at the plaintiffs expense; and (3) that the circumstances are such that in equity and good

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fraud3. F ederal Rule of Civil Procedure 9(b) requires that “[i]n alleging fraud or mistake, a party
must state with particularity the circumstances constituting fraud or mistake” (emphasis added).
The Second Circuit has held “that in order to comply with Rule 9(b), ‘the complaint must: (l)
specify the statements that the plaintiff contends were fraudulent, (2) identify the speaker, (3)
state where and when the statements were made, and (4) explain why the statements were
fraudulent.” Lerner v. Fleet Bank, N.A., 459 F.3d 273, 290 (2d Cir. 2006) (citing Mills v. Polar
Molecular Corp., 12 F.3d 1170, 1175 (2d Cir.l993)). The Complaint in this action - which is
controlling with regard to the scope of discovery under Second Circuit law - makes no such
allegations with regard to DGRD, and specifically none that satisfy the heightened pleading
requirement of Rule 9(b). Allowing Plaintiff to obtain unfettered discovery from non-parties as a
means to develop theories about parties and causes of action that are not alleged in the Complaint
flies in the face of Rule 9(b)’s particularity standard Plaintiff should not be permitted to obtain
discovery into the most private and intrusive parts of non-parties’ lives based on the speculative
possibility that it w reveal evidence that Ln_ay allow Plaintiff to amend its Complaint. Guan

Min Lin, 2010 WL 4007282 at *3.

On similar facts, the District of D.C. held that “to order the production of the defendant’s
personal bank records, the Court would have to find a connection between the defendant’s
accounts and specific allegations in the plaintiffs complaint.” Peskojf v. Faber, 230 F.R.D 25,
28 (D.D.C. 2005)(granting a protective order with respect to defendant’s personal bank records

where the court failed to find a connection between the accounts and the specific allegations in

 

conscience the defendant should return the money or property to the plaintiff” Golden Pac. Bancorp v. FDIC, 273
F.3d 509, 519 (2d Cir. 2001).

3 To establish liability for aiding and abetting fraud, the plaintiffs must show “(1) the existence of a fraud; (2) [the]
defendant's knowledge of the fi‘aud; and (3) that the defendant provided substantial assistance to advance the fraud's
commission.” Id. (citing JP Morgan Chase Bank v. Winm'ck, 406 F.Supp.2d 247, 252 (S.D.N.Y.2005) (intemal
quotation marks and citations omitted)).

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the complaint). As in Peskojf the Complaint in the instant action makes no reference to DGRD.
Federal Rule of Civil Procedure 26(b) also requires that discovery is “proportional to the needs
of the case”. Therefore, even if the Court deems DGRD’s financial records relevant to the
allegations in Plaintiff s Complaint, the discovery must also be proportional to the needs of the
case. Sky Medical Supply lnc. v. SCS Support Claz'm Services, Inc., No. 12-cv-6382, 2016 WL
4703656 at *13 (E.D.N.Y. Sept. 7, 2016)(finding request as written overly broad and unduly
burdensome in scope and narrowly tailoring the request to not contravene the requirement that
discovery be proportional to the needs of the case). Plaintiffs request seeks financial documents
dating back to 2012 (tax records), 2014 (records related to “financial condition”), and does not
restrict the time period for which it seeks bank records and financial information related to
rental/lease agreements Yet, DGRD’s provision of services to 21St Century occurred in 2017-
2018. Considering the issues at stake, pursuant to Rule 26, the burden on DGRD far outweighs

any likely benefit of disclosure

First, Plaintiff has not alleged and has no evidence that the discovery it seeks will provide
evidence of any scheme. Flexborrow LLC v. TD Auto Fin. LLC, 255 F. Supp. 3d 406, 420
(E.D.N.Y. 2017)(holding “in ‘the absence of any prima facie showing’ of a cognizable pattern of
racketeering activity, the Court will not ‘subject defendant[ ] to the burden and expense of
discovery (which likely would result in a fishing expedition)”’ citing Norvel Ltd. v. Ulstein
Propeller AS, 161 F.Supp.2d 190, 208 (S.D.N.Y. 2001). Second, arming the Plaintiff, a nation-
wide insurance carrier, with DGRD’s most personal information, including who it employs, what
it pays its employees, and who its other clients may be, puts a significant burden on DGRD’s

privacy that far outweighs any likely benefit.

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When addressing adequately pleaded complaints, the Second Circuit in limited
circumstances has allowed discovery of bank records specifically with regard to determining
how an enterprise operates and the roles of the parties involved in the context of RICO actions.
Id. See also Sky Med. Supply lnc. v. SCS Support Claz`m Servs., Inc., No. CV126383, 2016 WL
4703656, at *15 (E.D.N.Y. Sept. 7, 2016)(“the Court likewise finds that the bank account
information is relevant in so far as it may provide evidence ‘of how the enterprise operates, and

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of the role [the Nationwide Defendants] play[ed] in the enterprise )(citation omitted); Eastman
Kodak Co. v. Camarata, 238 F.R.D. 372, 375 (W.D.N.Y. 2006)(permitting discovery of bank
account information where “plaintiffs have asserted broad civil RICO claims against the [ ]

defendants”). The instant action, however, is not a RICO case. No cause of action was brought

pursuant to 18 U.S.C. § 1962 and there is no mention of any enterprise in the Complaint.

Further, Courts in the Second Circuit have recognized the importance of safe-guarding
private financial information, specifically with regard to tax returns. As previously set forth in
DGRD’s objections to Plaintiffs subpoena, Courts in the Second Circuit have established a
heightened standard that parties must meet to compel production of tax returns because
“[a]lthough tax returns are not inherently privileged, courts are typically reluctant to compel their
disclosure because of both ‘the private nature of the sensitive information contained therein’ and
‘the public interest in encouraging the filing by taxpayers of complete and accurate returns.”’
Carmoa'y v. Vill. of Rockvz`lle Ctr., No. CV-05-4907 (SJF)(ETB), 2007 U.S. Dist. LEXIS 50933,
at *5 (E.D.N.Y. July 13, 2007). To satisfy the standard, Plaintiffs must make “a two-part
showing that: ‘( 1) the returns must be relevant to the subject matter of the action and (2) there

must be a compelling need for the returns because the information is not otherwise readily

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obtainable.” Demz'rovic v. Ortega, 254 F. Supp. 3d 386, 389 (E.D.N.Y. 2017) (citing to

Carmody, 2007 U.S. Dist. LEXIS 50933 at *5).

Plaintiff has not satisfied either prong. First, the returns are not relevant to the subject
matter of the action, as set forth above. DGRD is not a party to this action, and is not explicitly
referenced in the Complaint. The Complaint does not contain RICO allegations involving an
enterprise or kickback scheme. The tax returns, therefore, have no relevance to the allegations in
this action. Second, the information sought in the tax returns is readily obtainable from other
sources. DGRD has provided all identified bank records related to 21st Century Pharmacy.
There is no further information related to the allegations in this action that could be obtained

from the tax records that Plaintiff does not already possess.
CONCLUSION

Based on the foregoing, DGRD requests that this Court find it fully responded to
Plaintiff’s subpoena pursuant to the above-cited cases, and holds that no further production of
documents is necessary. Further, DGRD requests that this Court not hold DGRD in contempt for
failing to timely reply to State Fann’s subpoena for reasons set forth in the Affidavits of Jennifer

B. Strong and Daniel Dmitrovic.

Dated: Lake Success, New York
October 9, 2018

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